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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


In re:                                                        Case No.19-00965
                                                              Chapter 13
John P. March                                                 Judge Goldgar
                                                              Lake County
                Debtor.


                                     NOTICE OF FILING
        PLEASE TAKE NOTICE that on April 30, 2019, we filed Consumers Credit Union’s
Objection to Confirmation of Plan with the Clerk of the Bankruptcy Court for the Northern
District of Illinois, a copy of which is attached hereto and herewith served upon you.

Respectfully submitted,
Consumers Credit Union, Objector,

By: /s/ Caroline Hasten
        Caroline Hasten, One of its attorneys

                                 CERTIFICATE OF SERVICE
        The undersigned, under penalties of perjury certifies and states that she has on April 30,
2019, served the attached documents upon the person or persons to whom addressed in this cause by
either electronic delivery or by U.S. Mail as set forth herein.
By Electronic Delivery:
David M. Siegel                                 Glenn B Stearns
Attorney for Debtor                             Chapter 13 Trustee

By U.S. Mail, postage prepaid, mailed from 20 N. Wacker Drive, Chicago, Illinois:
John P. March
364 Minuet Circle
Volo, IL 60073

                /s/ Caroline Hasten
                Caroline Hasten, Attorney at Law

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